IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

LEATHA WILLIAMS, as guardian of
a minor, LAUREN WILLIAMS and
ALICIA WILLIAMS,

Plaintiff,
No. 3:05-ev-141

CAMPBELL COUNTY, TENNESSEE,

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Defendants.

AFFIDAVIT OF CAMPBELL COUNTY CHIEF DEPUTY CHARLES SCOTT

Chief Deputy Charles Scott, after being duly sworn according to law, deposes and says as
follows:

1. My name is Charles Scott. I have been Chief Deputy of the Campbell County
Sheriff's Department for approximately 3 years.

2. [received an honorable discharge from the Army with the rank of Sergeant in 1970. |
first became employed with the Campbell County Sheriff's Department in 1971 as a
jailer/dispatcher, then a patrol deputy, and on up the ranks to Chief Deputy. After being
employed for approximately ten years, | left the department as Chief Deputy to attend school full
time. I graduated from Lincoln Memorial University with a bachelor’s degree in Applied
Science. After graduation, I began working for the Tennessee Bureau of Investigation (TBI) as a
Field Agent in the Criminal Investigation Division. 1 was employed by the TBI working in the

judicial circuit that includes Campbell County for twenty years before I retired. After my

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retirement from the TBI in 2002, I returned to the Campbell County Sheriff's Department in
2003 as Chief Deputy.

3. Sheriff Ron McClellan frequently asks me to accompany him when he goes to the jail
to speak with inmates. On February 18, 2004, at approximately 2:30 p.m., he asked me to go
with him to talk to the decedent, Ted Williams. I was not personally acquainted with Williams,
so I basically just observed the conversation between the Sheriff and Williams. During the
approximately 45 minute conversation, Williams was in good spirits and joked and laughed
about the charges against him.

4. I recall observing another conversation between Sheriff McClellan and Williams,
when Williams was let out of his cell and allowed to accompany us to the kitchen to get a cup of
coffee. At that time, he was also allowed to use the phone and take a shower. The decedent
seemed to be in a good mood.

5, The conversations I observed between Sheriff McClellan and Williams were the only
interaction I had with Williams during his incarceration. Williams did not express suicidal
intent, verbally or otherwise, in my presence during my limited contact with him.

6. The TBI was asked to perform an inquiry into Williams’ death. The case file was
closed with no finding of wrongdoing by any employee of the Campbell County Sheriffs
Department.

7. Ifand to the extent plaintiffs contend that I conspired with others to intentionally kill
Ted Williams, I did no such things, and have no information that Williams’ death resulted from

any cause other than his voluntary choice to hang himself.

Further, affiant saith not. Cf, AH

Charles Scott

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STATE OF TENNESSEE )

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COUNTY OF Compe) _)

Personally appeared before me Charles Scott, with whom I am personally acquainted, and
who acknowledged that she executed the within instrument for the purposes therein contained.

Witnessed my hand, at office, this the {Lo day of ( LOK \ sik , 2006.

Notary Public

My Commission Expires: 2] alanin

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